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                                  UNITED STATES DISTRICT COURT
                                 CENTRAL DISTRICT OF CALIFORNIA

                                          CIVIL MINUTES - GENERAL
 Case No.          8:21-cv-01968-JVS (ADSx)                                   Date   August 25, 2022
 Title             ConsumerDirect, Inc. v. Pentius, LLC et al.


 Present: The                    James V. Selna, U.S. District Court Judge
 Honorable
                         Lisa Bredahl                                         Not Present
                         Deputy Clerk                                       Court Reporter
                Attorneys Present for Plaintiffs:                   Attorneys Present for Defendants:
                          Not Present                                         Not Present

 Proceedings:           [IN CHAMBERS] Order Regarding Motion to Dismiss Array’s
                        Amended Counterclaim [161]

      Plaintiff/Counter-Defendant ConsumerDirect, Inc. (“ConsumerDirect”) moves to
dismiss the Amended Counterclaim (Dkt. 159, “Counterclaim”) filed by
Defendant/Counterclaimant Array US, Inc. (“Array”) for failure to state a claim pursuant
to Rule 12(b)(6) of the Federal Rules of Civil Procedure. See Mot., Dkt. 161, at 1. Array
opposes the motion. See Opp’n, Dkt. 163, at 1. ConsumerDirect presents a reply in
support of its Motion. See Reply, Dkt. 165.

     For the following reasons, the Court GRANTS in part and DENIES in part the
motion.

                                                    I. BACKGROUND

A.       Procedural History

       ConsumerDirect filed this action against various defendants, including Array,
alleging trademark infringement, interference, unfair competition, and other related
offenses. See Compl., Dkt. 1.

        ConsumerDirect moved for a preliminary injunction and the Court granted that
motion, finding that ConsumerDirect had shown a likelihood of success on the merits of
its claims. Dkt. 89,

       Array asserts the following counterclaims against ConsumerDirect: (1) intentional
interference with contractual relations (First Counterclaim, id. ¶¶ 43–49; Fifth
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Counterclaim, id. ¶¶ 72–78); (2) intentional interference with prospective economic
advantage (Second Counterclaim, id. ¶¶ 50–56; Sixth Counterclaim, id. ¶¶ 79–85);
(3) trade libel (Third Counterclaim, id. ¶¶ 57–65; Seventh Counterclaim, id. ¶¶ 86–94);
(4) unfair competition in violation of California Business and Professions Code § 17200
(“UCL”) (Fourth Counterclaim, id. ¶¶ 66–71; Eighth Counterclaim, id. ¶¶ 95–100).
Array states each cause of action twice, once regarding ConsumerDirect’s conduct
toward clients (see First–Fourth Counterclaims), and separately regarding its conduct
towards the credit bureaus (see Fifth–Eighth Counterclaims). Id.

B.       Counterclaim’s Factual Allegations

     Array’s Answer and Amended Counterclaims alleges the following. Answer and
Am. Countercl., Dkt. 159, (pp. 1–13, “Answer”), (pp. 14–31, “Counterclaim”).

       This litigation involves two different business models in the credit monitoring
industry. Answer, ¶ 1. For many years, ConsumerDirect has been an incumbent in the
industry. Id. ¶ 2. Its approach has been to own websites where consumers looking to
know their credit score and manage their credit can enroll in and pay for
ConsumerDirect’s service. Id. Since 2020, Array’s approach has been to provide
software and technology infrastructure to financial institutions that, in turn, enable them
to offer more advanced and user-friendly credit score and monitoring services directly to
their customers. Id. ¶ 3. While ConsumerDirect works primarily with consumers, Array
works exclusively with other businesses to help them retain consumer attention in the
websites and mobile applications through with those businesses already engaged with
their consumers—seamlessly and often without additional charge. Id. Array has made
this possible through agreements with the three major credit reporting bureaus, through
innovation, and by demonstrating to its clients that it offers a best in class product. Id. ¶
4. Under Array’s approach, consumers have no need to navigate to one of
ConsumerDirect’s websites or to pay it an additional fee for their credit information. Id.
¶ 5.

      After Array launched, ConsumerDirect began losing business customers to Array.
Countercl., ¶ 25. Since then, ConsumerDirect has engaged in a smear campaign to spread
knowingly false information about Array throughout the industry. Id. ¶ 26. These false
statements include false claims disparaging Array, its products, and its integrity. Id. ¶¶
26–27.
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       At an industry conference earlier this year, for example, ConsumerDirect sought
out Array’s current and potential customers and told them lies about Array’s business
practices. Id. ¶ 29. ConsumerDirect accused Array of improperly using credit bureau
data, including by “trimerging” the three credit bureau’s data (and ultimately paying less
for the information) as part of an allegedly fraudulent scheme to trick consumers and
undercut competitors. Id. ConsumerDirect’s employee also falsely stated that Array was
displaying sensitive, private consumer data contrary to industry and legal standards. Id. ¶
30. ConsumerDirect also claimed that Array improperly disclosed data, including
consumers’ bank account and social security numbers. Id. None of these claims is true.
Id. ¶ 31. Because of these lies, Array did not form any new business relationships after
this event, which was not normal, particularly after receiving so much interest from
participants. Id. ¶ 32. After the conference, other businesses that had been negotiating
with or in talks with Array suddenly became cold. Id. ¶ 33. One client made it clear that
ConsumerDirect’s statements caused it to be concerned about doing business with Array.
Id. Array was able to renegotiate the contract, but only after doing significant damage
control and agreeing to much less favorable terms for itself. Id. Although Array’s
investigation is ongoing, it believes that ConsumerDirect damaged other existing and
potential business relationships by disparaging Array and its products and services. Id. ¶
34.

       ConsumerDirect also spread lies in the market about Array’s standing with the
credit bureaus and regulators, stating that the credit bureaus would cease doing business
with Array, that regulators were going to shut it down, and that it was under investigation
by the FTC. Id. ¶ 35. ConsumerDirect spread these lies about Array’s ability to continue
as a business for the purpose of weakening Array’s current relationships and foreclose
new ones. Id. ¶ 36. These lies harm Array, its reputation, and its ability to form business
relationships. Id. ¶ 37.

      In addition to lying about Array to its current and potential customers,
ConsumerDirect also spread falsehoods about Array to the major credit bureaus. Id. ¶ 36.
The three major credit bureaus (the “3Bs”) are the largest and most important source of
consumer-level data needed to produce the reports and information that companies like
Array and ConsumerDirect supply to customers and consumers. Id. ¶ 38. Array cannot
have a viable business without an agreement with one or more of these companies. Id.
Array has recently been working to expand its relationships with the credit bureaus. Id. ¶
39. As these negotiations were coming to a close, ConsumerDirect interfered with the
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process by spreading lies about Array to the credit bureaus. Id. ¶ 40. ConsumerDirect’s
statements include the same or similar lies ConsumerDirect spread about Array to
Array’s current and potential clients. Id. ¶ 41. ConsumerDirect also told one or more
credit bureaus the following falsehoods about Array: (1) Array fails to answer its
customer service lines adequately; (2) Array engages in merchant processing fraud to
somehow hide improper behavior from the bureaus; (3) Array sells raw consumer data to
third parties without consumer consent and while misrepresenting how it handles data to
consumers; (4) Array fails to employ meaningful security controls to adequately protect
the confidentiality and integrity of consumer data; and (5) Array has violated or is
violating state and federal laws and regulations. Id. ¶ 41. These false statements caused
significant damage to Array. Id. ¶ 42. Just as its negotiations were wrapping up with one
of the credit bureaus, the bureau halted the negotiations and demanded a slew of
concessions based on the false statements ConsumerDirect had told it. Id.


                                     II. LEGAL STANDARD

        Under Rule 12(b)(6), a defendant may move to dismiss for failure to state a claim
upon which relief can be granted. A plaintiff must state “enough facts to state a claim to
relief that is plausible on its face.” Bell Atl. Corp. v. Twombly, 550 U.S. 544, 570
(2007). A claim has “facial plausibility” if the plaintiff pleads facts that “allow[] the
court to draw the reasonable inference that the defendant is liable for the misconduct
alleged.” Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009).

       In resolving a 12(b)(6) motion under Twombly, the Court must follow a two-
pronged approach. First, the Court must accept all well-pleaded factual allegations as
true, but “[t]hreadbare recitals of the elements of a cause of action, supported by mere
conclusory statements, do not suffice.” Iqbal, 556 U.S. at 678. Nor must the Court
“‘accept as true a legal conclusion couched as a factual allegation.’” Id. at 678-80
(quoting Twombly, 550 U.S. at 555). Second, assuming the veracity of well-pleaded
factual allegations, the Court must “determine whether they plausibly give rise to an
entitlement to relief.” Id. at 679. This determination is context-specific, requiring the
Court to draw on its experience and common sense, but there is no plausibility “where the
well-pleaded facts do not permit the court to infer more than the mere possibility of
misconduct.” Id.

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                                        III. DISCUSSION

      ConsumerDirect moves to dismiss Array’s Counterclaims pursuant to Rule
12(b)(6), because they are “completely devoid of any of the required detail” and thus to
do not state a valid, plausible claim. Mot. at 1.

A.       Intentional Interference with Contractual Relations (First and Fifth
         Counterclaims)

       CounsumerDirect argues that Arrays First and Fifth Counterclaims for intentional
interference with contractual relations should be dismissed for “fail[ing] to state any valid
claim because they lack the factual allegations necessary to support the elements” of such
a claim. Mot. at 4.

        A claim for intentional interference with contract requires: (1) a valid and existing
contract with a third party; (2) that the defendant had knowledge of the contract, (3) that
the defendant committed an intentional act designed to induce a breach or disruption of
the contractual relationship; (4) actual breach or disruption of the customer relationship,
and (5) damages. See Soil Retention Prods., Inc. v. Brentwood Indus., No. 3:20-CV-
02435-BEN-WVG, 2021 WL 689914, at *17 (S.D. Cal. Feb. 23, 2021). Notably, “an
actor’s breach of contract, without more, is not ‘wrongful conduct’ capable of supporting
a tort.” Drink Tank Ventures LLC v. Real Soda in Real Bottles, Ltd., 2021 WL 5231689,
at *1 (Cal. Ct. App. Nov. 10, 2021) (citing Erlich v. Menezes, 21 Cal. 4th 543, 551–552
(1999); Cates Construction, Inc. v. Talbot Partners, 21 Cal. 4th 28, 54 (1999)).

        As to the first element, ConsumerDirect contends that the Counterclaims are
insufficient for two reasons. First, it argues that Array alleges only the existence of
ongoing contractual negotiations when ConsumerDirect interfered, not any valid contract.
Mot. at 4 (citing Countercl., ¶¶ 34, 42). However, the First and Fifth Counterclaims
allege that at the time of the alleged interference, “Array had valid contracts with clients
for the provision of its consumer finance and credit tools” (id. ¶ 44), and “had valid
contracts with credit bureaus for the purchase of consumer credit data” (id. ¶ 73). Thus,
while Array does allege that it was in the process of negotiating some contracts, it also
alleges the existence of valid, executed contracts. See id. ¶¶ 44, 73. Second,
ConsumerDirect argues that Array’s failure to identify specific contracts and customers is
fatal to the claim. Mot. at 4–5. In support of this argument, Array cites UMG
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Recordings v. Global Eagle Ent., Inc., which states that “counterclaimants must identify
the third party or parties with whom they contracted, and the nature and extent of their
relationship with that party or parties.” 117 F. Supp. 3d 1092, 1115 (C.D. Cal. 2015).
However, the central inquiry is not whether the pleading specifically identifies the third
parties, but whether it sufficiently indicates the contractual rights that are at issue. PHD
Marketing, Inc. v. Vital Pharms, Inc., 2021 WL 8693518, at *9 (C.D. Cal. Mar. 3, 2021)
(citing Unite Eurotherapy, Inc. v. Walgreen Co., 2017 WL 513008, at *2–3 (S.D. Cal.
Feb. 7, 2017); Nestle USA, Inc. v. Crest Foods, Inc., 2017 WL 3267665, at *12 (C.D.
Cal. July 28, 2017)).

       Array’s allegations here are sufficient to determine what contractual rights are at
issue. Array sufficiently alleges that the First Counterclaim is based on Array’s
agreements with its clients by which it licenses its software and technology infrastructure
for their clients to use to offer credit monitoring services to their customers. Countercl.,
¶¶ 4, 11, 16–17, 44. Similarly, it adequately identifies that its Fifth Counterclaim is based
on interference with Array’s contracts with the three major credit bureaus to obtain
consumer credit and related information. Id. ¶¶ 9, 73. These allegations are similar to
those that courts have found to sufficiently identify a valid contract to state a claim for
interference with contractual relations. See, e.g., Qwest Commc’ns Corp. v. Herakles,
LLC, 2008 WL 783347, at *11 (E.D. Cal. Mar. 20, 2008) (finding allegations of “existing
relationships with a finite group of potential customers sufficient” to survive a motion to
dismiss); Zoom Imaging Sols., Inc. v. Roe, 2020 WL 489238, at *3 (E.D. Cal. Jan. 30,
2020) (denying a motion to dismiss a claim for intentional interference with contractual
relations where the plaintiff alleged that “at least seventy-four [unnamed] customers ha[d]
cancelled their agreements with [the plaintiff]”); Byton N. Am. Co. v. Breitfeld, 2020 WL
3802700, at *6 (C.D. Cal. Apr. 28, 2020) (denying a motion to dismiss a claim for
intentional interference with contractual relations where the plaintiff did not name the
parties to the contracts at issue).

       With regards to the second element, ConsumerDirect argues that “Array failed to
allege any facts demonstrating ConsumerDirect’s knowledge of the alleged contracts.”
Mot. at 4–5. As to its client contracts, Array alleges that “ConsumerDirect was aware of
the contracts between Array and its clients and business partners at the time it made false
and defamatory statements.” Countercl., ¶ 45. Array supports this conclusion with
specific factual allegations. For example, its allegations that ConsumerDirect “sought
out” Array’s clients and told them to “stop doing business” with Array show that
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ConsumerDirect knew they were Array’s clients. Id. ¶¶ 25, 29, 35–36, 44–45, Intro.
¶¶ 6(ii), 7. Similarly, Array adequately pleads facts showing ConsumerDirect’s
knowledge of its contractual relationships with the credit bureaus. Array alleges that
“ConsumerDirect was aware of the contracts between Array and the bureaus at the time it
made false statements about Array.” Id. ¶ 74. It also alleges that ConsumerDirect knew
that all viable credit monitoring businesses must have an agreement with at least one of
the three credit bureaus to obtain the necessary consumer credit information. Id. ¶¶ 9, 38.
This is sufficient to allege ConsumerDirect’s knowledge of its existing contracts.

        ConsumerDirect contends that “[t]he Counterclaim also fails to allege facts
establishing actual breach or disruption of the contracts, or any resulting damage to
Array.” Mot. at 5. To adequately plead “actual breach or disruption,” a party may allege
that the interference made performance of its contract “more expensive or burdensome,”
an actual breach is not required. Pac. Gas & Elec. Co. v. Bear Sterns & Co., 50 Cal. 3d
1118, 1127 (1990). As to its client contracts, Array alleges that “ConsumerDirects
unlawful conduct interfered with the performance of the contracts between Array and its
clients and partners and made it more expensive and difficult for Array to perform its
obligations.” Countercl., ¶ 46. It further alleges that “Array’s client made it clear that
ConsumerDirect’s statements caused concern about doing business with Array” and that
“Array was able to renegotiate the contract but only after significant damage control and
under much less favorable terms for Array.” Id. ¶ 33. Regarding the credit bureaus,
Array alleges that “ConsumerDirect’s unlawful conduct prevented performance of the
contracts between Array and the bureaus and made it more expensive and difficult for
Array to perform the contracts.” Id. ¶ 75. These allegations are sufficient to plead
“actual breach or disruption” of the client contracts. Compare Behr Proc. Corp. v. RPM
Int’l Inc., 2014 WL 12584385, at *2–4 (C.D. Cal. May 20, 2014) (finding defendant’s
allegations that plaintiff’s alleged interference damaged its “business and goodwill” and
“made [defendant]’s performance of the contract more expensive and/or difficult” to
sufficiently plead disruption) with Upper Deck Co. v. Panini Am., Inc., 469 F. Supp. 3d
963, 982 (S.D. Cal. June 29, 2020) (dismissing interference with contractual relations
claim when plaintiff did “not allege that its contract with [a third party] ha[d] been
terminated, that its terms ha[d] changed, or that performance ha[d] become more costly or
burdensome as a result of” the alleged interference).

      Accordingly the Court DENIES ConsumerDirect’s motion to dismiss Array’s First
and Fifth Counterclaims.
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B.       Intentional Interference with Prospective Economic Advantage (Second and
         Sixth Counterclaims)

       ConsumerDirect next argues that the Second and Fifth Counterclaims for
intentional interference with prospective economic advantage should be dismissed for
similar reasons.

       Under California law, the elements of a claim for intentional interference with
prospective economic advantage are “(1) the existence, between the plaintiff and some
third party, of an economic relationship that contains the probability of future economic
benefit to the plaintiff; (2) the defendant’s knowledge of the relationship;
(3) intentionally wrongful acts designed to disrupt the relationship; (4) actual disruption
of the relationship; and (5) economic harm proximately caused by the defendant’s
action.” Roy Allan Slurry Seal, Inc. v. Am. Asphalt South, Inc., 2 Cal. 5th 505, 213
(2017).

       Unlike tortious interference with contractual relations requires pleading the
existence of a legally binding contract, this tort only requires an “economic relationship
between the [the party asserting the claim] and some third party, [which carries] the
probability of future economic benefit to [the claimant].” Ixchel Pharma, LLC v. Biogen,
Inc., 9 Cal. 5th 1130, 1141 (2020) (internal quotation omitted). ConsumerDirect argues
that Array fails to do this for the same reasons it stated that Array failed to identify any
valid contracts to state its interference with contractual relations claim—i.e., it did not
identify specific relationships. However, the Court rejects those arguments here for the
same reasons it did so above. Array alleges that ConsumerDirect interfered with its
relationships with the three major credit bureaus to acquire consumer credit information,
and relationships with potential clients to license their software and infrastructure. “A
number of courts have held that specifying a third party group is sufficient to state a
claim [for intentional interference with prospective economic advantage], even if the
plaintiff does not individually name each member of the group.” Luxpro Corp. v. Apple
Inc., 2011 WL 1085027, at *7 (N.D. Cal. 2011) (finding allegations that defendant
interfered with existing economic relationships with its “retailers, distributors and
suppliers” sufficient to plead the first element of intentional interference with prospective
economic advantage claim) (collecting cases).


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       ConsumerDirect argues that “[f]or the same reasons stated above, Array also fails
to allege adequate facts establishing ConsumerDirect’s knowledge of the unspecified
relationship(s), or how the relationship(s) were actually disrupted or how that disruption
actually caused harm to Array.” Mot. at 6. The counterclaims adequately plead
knowledge by alleging that ConsumerDirect knew that Array needed an agreement with
one or more of the bureaus and “targeted” them to “incapacitate” Array but cutting off its
ability to obtain credit data (Countercl., ¶¶ 9, 26, 38); and that “ConsumerDirect knew
that Array had the existing or prospective economic relationships including because some
of the clients were active or former clients of Consumer Direct” (id. ¶ 52). Likewise,
Array adequately pleads actual disruption by alleging, for example: “investors were
dissuaded from investing in Array and Array lost potential clients” (id. ¶ 55); “at least
one credit bureau sought and received significant concessions from Array that it would
not have otherwise” (id. ¶ 84). See Logistick, Inc. v. AB Airbags, Inc., 543 F. Supp. 3d
881, 893 (S.D. Cal. June 15, 2021) (finding allegations that defendant made false
statements about plaintiff’s products sufficient to allege actual disruption because it was
“reasonable to infer that [the] allegedly false statement . . . could damage competitors,
like [p]laintiff”); Visto Corp. v. Sproqit Techs., Inc., 360 F. Supp. 2d 1064, 1067–68
(N.D. Cal. 2005) (noting that interference with existing and prospective relationships
with customers and investors is likely sufficient to show actual disruption). Array alleges
that these disruptions caused it to suffer “lost investments, lost profits, expenses, lost
goodwill, and other damages.” Id. ¶¶ 53, 85.

       Finally, ConsumerDirect argues that “Array fails to allege any independently
wrongful act.” Mot. at 6. An “independently wrongful” act is on that is “proscribed by
some constitutional, statutory, regulatory, or common law, or other determinable legal
standard.” Korea Supply, 29 Cal. 4th at 1138. Because the Court finds that Array has
sufficiently pleaded its UCL claim based on the “unfair” prong based on this same
conduct, the Court also finds that Array sufficiently pleads an independently wrongful
act.

      For these reasons, the Court finds that Array’s allegations adequately plead a
plausible claim for intentional interference of prospective economic advantage and
DENIES ConsumerDirect’s motion to dismiss the Second and Sixth Counterclaims.

C.       Trade Libel (Third and Seventh Counterclaims)

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       ConsumerDirect next moves to dismiss Array’s Third and Seventh Counterclaims
for trade libel.

        California law defines trade libel “as ‘an intentional disparagement of the quality
of property, which results in pecuniary damage.’” Aetna Cas. & Sur. Co. v. Centennial
Ins. Co., 838 F.3d 346, 351 (9th Cir. 1988) (quoting Erlich v. Etner, 224 Cal. App. 2d 69,
73 (1964)). The elements of trade libel are (1) a false publication, (2) that induces others
not to deal with the party, and (3) special damages. Id. The California Supreme Court
has cautioned that construing these elements too broadly could lead to “vexatious
lawsuits over perceived slights” between competitors. See Hartford Cas. Ins. Co. v. Swift
Distrib., Inc., 49 Cal. 4th 277, 294 (2014) (internal quotations omitted). Accordingly,
certain elements of trade libel claims require specific allegations. Rumble, Inc. v. Daily
Mail & Gen. Trust PLC, 2020 U.S. Dist. LEXIS 89832, at *11 (C.D. Cal. Feb. 12, 2020).
For example, the “disparaging” element requires alleging “a false or misleading statement
that . . . clearly derogates [the party’s] product or business.” Id. (quoting Hartford, 59
Cal. 4th at 284).

       A trade libel claim must “be based on specific statements.” See Films of
Distinction v. Allegro Film Prods., 12 F. Supp. 2d 1068, 1081 (C.D. Cal. 1998). Here,
Array does not adequately allege a trade libel claim because it does not point to any
specific statement underlying its claim. See Rumble, 2020 U.S. Dist. LEXIS, at *13
(dismissing trade libel claim as deficient because it did not reference any specific
statements made by defendant to plaintiff); First Advantage Background Servs. Corp. v.
Private Eyes, Inc., 569 F. Supp. 2d 929, 937 (N.D. Cal. 2008) (dismissing trade libel
claim under 12(b)(b) because it failed to give “any indication of who from [the defendant
company] made the allegedly libelous statements, to whom they made those statements,
when they made the statements, or what exactly they said”).

       “A cause of action for trade libel requires pleading and showing special damages.”
Piping Rock Partners, Inc. v. David Lerner Associates, Inc., 946 F. Supp. 2d 957, 981
(N.D. Cal. 2013). “Under federal pleading requirements, ‘[w]hen items of special
damages are claimed, they shall be specifically stated.’” Isuzu Motors Ltd. v. Consumers
Union of U.S., Inc., 12 F. Supp. 2d 1035, 1047 (C.D. Cal. 1998) (quoting Fed. R. Civ. P.
9(g)). “Thus, while the requirement that plaintiff plead special damages arises from state
law governing a claim for product disparagement, the requirement that special damages
be specifically pleaded stems from Fed. R. Civ. P. 9(g).” Id.
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       The Court finds that Array has not pleaded special damages with sufficient
particularity under Rule 9(g). The Counterclaim does not allege any specific pecuniary
loss as required by this standard. Rather, it contains “bare allegation[s]” of lost business
opportunities, relationships, and reputation. See Storm Mfg. Group v. Weather Tec
Corp., 2013 U.S. Dist. LEXIS 136882, at *27 (C.D. Cal. Sep. 23, 2013). With regards to
this claim, Array alleges that defendants’ statements caused it to “suffer[] direct and
indirect financial harm.” Id. ¶¶ 63, 92. These allegations do not rise to the level of
identifying “particular purchasers” or “specific transactions” as the cause of action
requires. See Storm Mfg., 2013 U.S. Dist. LEXIS 136882, at *27 (quoting Erlich, 224
Cal. App. 2d at 73–74). Further, Array’s alleged reputational harm is insufficient because
an action for trade libel may only be brought to redress pecuniary harm. Microtec
Research, Inc. v. Nationwide Mut. Ins. Co., 40 F.3d 968, 972 (9th Cir. 1994) (noting that
an action for trade libel “is based on pecuniary damage”).

     The Court thus GRANTS ConsumerDirect’s motion to dismiss the Third and
Seventh Counterclaims.

D.       Violation of California UCL (Fourth and Eighth Counterclaims)

      ConsumerDirect contends that Array’s UCL claims (Fourth and Eighth
Counterclaims) must be dismissed for (1) failing to allege the monetary loss required to
confer standing, (2) failing to state a claim under any prong of the UCL. Mot. at 7.

       California’s Unfair Competition Law (UCL) prohibits “any unlawful, unfair or
fraudulent business act or practice and unfair, deceptive, untrue or misleading
advertising.” Cal. Bus. & Prof. Code § 17200. The three prongs of the UCL are
independent of each other and may be asserted as separate claims. Cel-Tech Commc’ns,
Inc. v. Los Angeles Cellular Tel. Co., 20 Cal. 4th 163, 180 (1999).

         1.      UCL Standing

      First, ConsumerDirect argues that Array lacks standing to bring its UCL claim
because it has not alleged an injury in fact or monetary loss as a result of the unfair
competition. Mot. at 7.

         Private enforcement actions under the UCL may only be brought by those who
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have suffered direct economic injury. Cal. Med. Ass’n v. Aetna Health of Cal. Inc., 63
Cal. App. 5th 660, 666 (2021) (citing Amalgamated Transit Union, Local 1756, AFL-
CIO v. Sup. Ct., 46 Cal. 4th 993, 1000 (2009); Cal. Bus & Prof. Code § 17204 (“Actions
for relief pursuant to this chapter shall be prosecuted exclusively . . . by a person who has
suffered injury in fact and has lost money or property as a result of the unfair
competition.”)). This standing requirement is narrower than Article III standing;
“[w]hereas a federal plaintiff’s ‘injury in fact’ may be intangible and need not involve
lost money or property . . . a UCL plaintiff’s ‘injury in fact’ [must] specifically involve
‘lost money or property.’”

       Array’s UCL Counterclaims allege that it “has suffered injury in fact and lost
money as a result of ConsumerDirect’s unlawful acts and practices and has been
irreparably harmed and will continue to suffer irreparable harm by reasons of these
violations.” Id. ¶¶ 71, 100. ConsumerDirect argues that these allegations alone are
conclusory and insufficient to allege an economic injury in fact. See Mot. at 8–9. In its
Opposition, Array contends that it has adequately alleged injury in fact by alleging the
following in the introduction to its counterclaims: (1) “ConsumerDirect’s untruths have
caused Array to lose business opportunities, forced Array to expend resources to protect
relationships, and required Array to engage in damage control to protect its reputation”
(Mot. at 17 (citing Countercl., ¶¶ 8, 32–34)); and (2) “that as a result of
ConsumerDirect’s false statements about Array, it had to negotiate and accept less
favorable terms” with the credit bureaus (id. (citing Countercl., ¶ 42). This is sufficient
to allege economic injury under the UCL. See Kwikset, 51 Cal. 4th at 324 (A party has
suffered economic injury if it “acquire[d] in a transaction less . . . than [the party]
otherwise would have.”); Law Offices of Mathew Higbee v. Expungement Assistance
Servs., 214 Cal. App. 4th 544, 560–61 (2013) (allegation that “unlawful business
practices had taken customers away from [the plaintiff]”).

         2.      UCL Violations

       Array alleges that “ConsumerDirect’s acts and practices constitute unlawful, unfair
and/or fraudulent business acts or practices within the meaning of the UCL, including,
but not limited to, falsely claiming that Array has engaged in fraudulent business
practices and does not provide adequate customer service.” Countercl., ¶¶ 67, 96. The
UCL provides a separate theory of liability under each of its three prongs—unfair,
unlawful, and fraudulent. Lozano v. AT&T Wireless Servs., Inc., 504 F.3d 718, 731 (9th
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Cir. 2007).

                 a.    Unlawful Prong

       With regard to the UCL’s “unlawful prong,” ConsumerDirect argues that Array did
not allege that it “violated any laws.” Mot. at 8. However, Array alleges that
“ConsumerDirect’s acts and practices are actionable under the unlawful prong of the
UCL as they constitute intentional interference with contractual relations and economic
advantage and trade libel.” Countercl., ¶ 68. The “unlawful” prong of the UCL treats
violations of other federal, state, regulatory, or court-made law as unlawful business
practices independently actionable under state law. Nat’l Rural Telecomm. Coop. v.
DIRECTV, Inc., 319 F. Supp. 2d 1059, 1074 (C.D. Cal. 2003) (citation omitted).
Accordingly, Array’s claims for intentional interference with contractual relations and
prospective relationships and trade libel all suffice to allege an “unlawful” business
practice. See CRST Van Expedited, Inc. v. Werner Enters., Inc., 479 F.3d 1099, 1107
(9th Cir. 2007) (holding that intentional interference with contract may form the basis of
a UCL claim under the unlawful prong).

                 b.    Fraudulent Prong

       The fraudulent prong of the UCL requires pleading a “fraudulent business
practice,” meaning “one that is likely to deceive members of the public.” Morgan v.
AT&T Wireless Servs., Inc., 177 Cal. App. 4th 1235, 1235 (2009). To have standing
under the UCL’s fraud prong, a claim must plead “actual reliance by the [party] seeking
relief under [the statute].” Id. Because this claim is based on fraud, the circumstances
surrounding the fraud must be alleged with particularity. Fed. R. Civ. P. 9(b); Kearns v.
Ford Motor Co., 567 F.3d 1120, 1125 (9th Cir. 2009) (Rule 9(b) applies to UCL claims
based on fraud).

      In support of its claim under the “fraudulent” prong, Array alleges that
“ConsumerDirect’s acts and practices were fraudulent within the meaning of the UCL
because they were designed to deceive and defraud Array’s consumers and partners.”
Countercl., ¶ 69. Array argues that it “satisfies the fraud prong by alleging that
ConsumerDirect engages in conduct by which ‘members of the public are likely to be
deceived.’” Opp’n at 19.

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       Array does not have standing to challenge Array’s statements under the fraudulent
prong of the UCL because Array does not allege its own reliance. See O’Connor v. Uber
Techs, Inc., 58 F. Supp. 3d 989, 1003 (dismissing a UCL fraudulent prong claim brought
by Uber drivers because the drivers “ha[d] not alleged their own reliance on Uber’s
misrepresentations” but only the reliance of “Uber’s customers”) (emphasis in original);
ZL Technologies v. Gartner, Inc., 2009 WL 3706821, at *11 (N.D. Cal. Nov. 4, 2009)
(dismissing a UCL fraudulent prong claim where the plaintiff “allege[d] not its own
reliance upon the Alleged Defamatory Statements, but that of third parties—potential
customers—resulting in a loss of profits and injury to [plaintiff]”).

       Further, Array does not allege facts in sufficient detail to meet the heightened
pleading standard for fraud. While Array alleges that ConsumerDirect made various
misrepresentations about it to existing and future clients and the credit bureaus, it does
not allege the time, place, persons, statements, and explanations of why the
representations are misleading. See Kearns v. Ford Motor Co., 567 F.3d 1120, 1125 (9th
Cir. 2009). With the exception of one misrepresentation which Array attributes to
“ConsumerDirect’s employee,” Array alleges that each misrepresentation was made by
“ConsumerDirect.” This is insufficient under Rule 9(b)’s heightened pleading standard.
See UMG Recs., Inc. v. Global Eagle Entm’t, Inc., 117 F. Supp. 3d 1092, 1108 (C.D. Cal.
June 22, 2015) (“Where fraud has allegedly been perpetrated by a corporation, [the claim]
must allege the names of the employees or agents who purportedly made the fraudulent
representations, or at a minimum identify them by their titles and/or job responsibilities.”)
(collecting cases).

                 c.    Unfair Prong

       As to the “unfair” prong, Array argues that it “sufficiently pleaded a violation
under the unfair prong” by “explain[ing] that ConsumerDirect’s conduct ‘significantly
threatens or harms competition.’” Opp’n at 18 (citing Cel-Tech Commc’ns, Inc. v. L.A.
Cellular Tel. Co., 20 Cal 4th 163, 187 (2005)). Where a competitor brings an action under
the unfair prong of the UCL claiming anticompetitive practices, the California Supreme
Court has instructed:

         [T]o guide courts and the business community adequately and to promote
         consumer protection, we must require that any finding of unfairness to competitors
         under section 17200 be tethered to some legislatively declared policy or proof of
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         some actual or threatened impact on competition. We thus adopt the following
         test: When a plaintiff who claims to have suffered injury from a direct competitor’s
         “unfair” act or practice invokes section 17200, the word “unfair” in that section
         means conduct that threatens an incipient violation of an antitrust law, or violates
         the policy or spirit of one of those laws because its effects are comparable to or the
         same as a violation of the law, or otherwise significantly threatens or harms
         competition.

Id. at 186–87. Notably, it is not just conduct that threatens a violation of an actual
antitrust law that supports a UCL unfairness claim. Equally actionable is conduct that
“violates the policy or spirit of one of those laws because its effects are comparable to or
the same as a violation of the law, or otherwise significantly threatens or harms
competition.” Id. at 186–87. “Injury to a competitor is not equivalent to injury to
competition; only the latter is the proper focus of antitrust laws.” Id. at 186.

       The Counterclaim’s allegations sufficiently state a claim under Cel-Tech. Array
alleges that ConsumerDirect, a long-time incumbent in the credit monitoring industry, felt
threatened by Array’s recent entrance and innovations. See, e.g., Countercl., ¶¶ 2, 3. It
alleges that Array’s products allow financial institutions “to offer more advanced and
user-friendly credit score and monitoring services” to their customers, often at no
additional expense. Id. ¶¶ 3, 5. Array further alleges that because it does this, “millions
of customers . . . have no need to navigate to one of ConsumerDirect’s websites or pay
ConsumerDirect an additional fee for this information.” Id. ¶ 5. Thus, it alleges,
ConsumerDirect perceived Array as “an existential threat,” “[b]ut instead of finding a
way to offer a better and more competitive product,” ConsumerDirect “spread lies about
Array” to the credit bureaus and Array’s current and prospective clients. Id. ¶ 6. Array
argues that “[a]s a result, end-customers will not be able to access their credit information
from within their financial institutions digital ecosystems and [will be] unable to reap the
benefits of Array’s innovations that are offered to the end-customers for free.” Mot. at
18–19. The crux of Array’s allegations is that ConsumerDirect sought to eliminate a new
market entrant and deprive consumers of better, lower-priced services so that it did not
have to offer a more competitive product. Notably, Array alleges harm to the market as a
whole rather than just individual injury to a competitor. This is sufficient to allege that
ConsumerDirect’s conduct violates “the policy or spirit of [antitrust] laws because its
effects are comparable to a violation of the law, or that otherwise significantly threatens
or harms competition.” Hodsdon v. Mars, Inc., 891 F.3d 857, 866 (9th Cir. 2018) (citing
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Cel-Tech, 20 Cal. 4th at 187); see also Metricolor LLC v. L’oreal S.A., 2020 WL
3802942, at *17 (C.D. Cal. July 7, 2020) (“Although [plaintiff] does not plead specific
product or geographic markets, market power, or other allegations typical of claims
alleging violations of state or federal antitrust laws, a claim pursuant to the UCL’s unfair
prong does not necessarily require such specific allegations); FTC v. Qualcomm Inc., 969
F.3d 974, 988 (9th Cir. 2020) (“Antitrust law . . . is aimed at encouraging innovation,
industry, and competition”) (internal quotation marks omitted); Allied Orthopedic
Appliances Inc. v. Tyco Health Care Group LP, 592 F.3d 991, 1000 (9th Cir. 2010) (“The
very purpose of the antitrust laws . . . is . . . to foster and ensure competition on the
merits”) (citation omitted); TYR Sport Inc. v. Warnaco Swimwear Inc., 679 F. Supp. 2d
1120, 1132 (C.D. Cal. 2009) (“[O]ne form of antitrust injury is coercive activity that
prevents its victims from making free choices between market alternatives.”) (citing
Amarel v. Connell, 102 F.3d 1494, 1509 (9th Cir.1996)).

         3.      UCL Remedies

        Lastly, the remedies for UCL violations are limited to injunctive relief and
restitution, not monetary damages. Chambers v. Whirlpool Corp., 980 F.3d 645, 2020
WL 6578223, at *7 (9th Cir. 2020). “Restitution is the ‘return [of] money obtained
through an unfair business practice to those persons in interest from whom the property
was taken, that is, to persons who had an ownership interest in the property or those
claiming through that person.’” Loomis, 420 F. Supp. 3d at 1077. ConsumerDirect
argues that Array’s UCL claim “fail[s] because Array failed to allege any recoverable
remedy.” Mot. at 9. Array seeks a permanent injunction enjoining and restraining
ConsumerDirect from “stating or implying that”: “Array has engaged or is engaging in
fraudulent conduct”; “Array has engaged in or is engaging in unlawful conduct”; “Array
provides or has provided inadequate protection of its clients’ and their customers’ data”;
“Array does not provide or has not provided adequate customer support”; or otherwise
“disparaging Array, its officers, agents . . . its services, or its products to actual and
potential clients, consumers, or competitors.” Countercl., at 29. ConsumerDirect
contends that this “requested injunction is unavailable to Array given it would violate the
litigation privilege and protected free speech rights.” Mot. at 10 (citing Cal. Civ. Code §
47(b); Evans v. Evans, 162 Cal. App. 4th 1157, 1168 (2008) (“An order prohibiting a
party from making or publishing false statements is a classic type of an unconstitutional
prior restraint”). It also argues that “Array’s request for an injunction enjoining
ConsumerDirect from ‘[d]isparaging Array’ is unconstitutionally vague and overbroad.”
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Id. (citing Evans, 162 Cal. App. 4th at 1169 (holding that an injunction prohibiting any
defamatory statements is “invalid as unconstitutionally vague and overbroad”).
However, Evans, the case ConsumerDirect cites, continues to say that a party’s “right to
free speech would not be infringed by a properly limited injunction prohibiting defendant
from repeating statements about plaintiff that were determined at trial to be defamatory.”
Evans, 162 Cal. App. 4th at 1168 (citing Balboa Island Village Inn, Inc. v. Lemen, 40
Cal. 4th 1141, 1155–46 (2007)). Here, Array’s claims are based on certain statements
that it claims are false and libelous. Accordingly, it may properly seek a “properly
limited injunction prohibiting [ConsumerDirect] from repeating statements about
[Array]” to the extent the are determined to be defamatory.

       For these reasons, the Court DENIES ConsumerDirect’s motion to dismiss Array’s
UCL claims under the unlawful and unfair prongs and GRANTS the motion with respect
to the fraudulent prong.

                                        IV. CONCLUSION

      For the foregoing reasons, the Court GRANTS in part and DENIES in part the
motion with leave to amend. The Court finds that oral argument would not be helpful in
this matter. Fed R. Civ. P. 78; L.R. 7-15.

                 IT IS SO ORDERED.




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